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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


MONSANTO COMPANY and                            )
MONSANTO TECHNOLOGY, LLC,                       )
                                                )
               Plaintiffs,                      )
                                                )
       v.                                       )   No. 4:14-CV-870 JAR
                                                )
OMEGA FARM SUPPLY, INC., d/b/a                  )
OMEGA FARM SUPPLY & GIN CO.,                    )
                                                )
               Defendant.                       )

                               MEMORANDUM AND ORDER

       This matter is before the Court on Defendant Omega Farm Supply, Inc.’s Motion to

Dismiss Counts I, II and IV of Plaintiff Monsanto Company’s Complaint and Motion to Transfer

Remaining Counts Due to Improper Venue. (Doc. No. 9) The motion is fully briefed and ready

for disposition.

       I.      Background

       Plaintiff Monsanto brings this action for breach of contract and patent infringement

against Defendant Omega Farm Supply, Inc. (“Omega”), a Georgia corporation in the business

of distributing farm input supplies, including seed, and the ginning, warehousing and marketing

of cotton. (Complaint (“Compl.”), Doc. No. 1 at ¶ 10) Monsanto is in the business of developing,

manufacturing, licensing, and selling agricultural biotechnology, agricultural chemicals, and

agricultural products. After the investment of substantial time, expense, and expertise, Monsanto

developed plant biotechnology that results in tolerance to glyphosate-based herbicides (such as

Roundup WeatherMAX® and Touchdown®) as well as certain insect species that are cotton

plant pests. (Id. at ¶ 2) Cotton seed containing these biotechnologies is marketed by Monsanto
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under multiple trade names, including Roundup Ready® and Roundup Ready® Flex cotton,

Bollgard® and Bollgard II® cotton, and Roundup Ready® Flex with Bollgard II® cotton. (Id. at

¶ 3) The biotechnology is protected by multiple United States patents, including United States

Patent Numbers 6,949,696 (“the ‘696 patent”) issued on September 27, 2005 and 7,064,249 (“the

’249 patent”) issued on June 20, 2006. (Id. at ¶¶ 4, 5; Doc. Nos. 1-1, -2)

       Monsanto only licenses the use of Roundup Ready® Flex, Bollgard II®, and Roundup

Ready® Flex with Bollgard II® seed technologies to farmers through authorized dealers at the

retail marketing level with a limited use license commonly referred to as a “Technology

Agreement.” (Compl. at ¶ 17) Authorized licensees must pay a “technology fee” to Monsanto for

each commercial unit of seed in addition to the price of the base germplasm. (Id. at ¶ 18) The

planting and transferring of saved, second generation Roundup Ready® Flex, Bollgard II®, and

Roundup Ready® Flex with Bollgard II® is prohibited under the Technology Agreement. (Id. at

¶¶ 21, 22)

       In August 2005, Omega entered into a Monsanto Brand Seed Dealer Agreement

(“MBSD,” Doc. No. 1-3) with Monsanto which established Omega as a designated dealer for

certain branded seed. (Id. at ¶ 19) The MBSD requires Omega to notify Monsanto of known or

suspected use of pirated seed containing Monsanto technologies and cooperate in Monsanto’s

enforcement of its contract and patent rights. (Compl. at ¶¶ 41, 44; MBSD at ¶ 8) Pursuant to the

MBSD, the parties consented to sole and exclusive jurisdiction and venue in this Court “for all

claims and disputes arising out of or connected in any way with [the] Agreement or the seed

referenced [therein].” (MBSD at ¶ 20)

       Monsanto alleges that “for years,” Omega breached its contract with Monsanto by failing

to report the unauthorized use of Monsanto seed technologies. Monsanto further alleges that




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Omega breached its contract with Monsanto and committed patent infringement by soliciting and

making sales of pirated seed containing patented Monsanto technologies, including sales to

unlicensed farmers. (Id. at ¶ 33) According to Monsanto, Omega also encouraged and assisted in

the seed saving activity. (Id. at ¶ 34)

         Omega moves to dismiss Monsanto’s breach of contract claim (Count I) as well as its

claims for inducement to infringe (Counts II and IV). In the event the breach of contract claim is

dismissed, Omega moves for transfer of the remaining counts to the Middle District of Georgia

pursuant to 28 U.S.C. § 1404.

         II.      Discussion

         A. Motion to dismiss

               Breach of contract

         In support of its motion, Omega argues that Monsanto’s contract claim should be

dismissed because Monsanto has failed to allege any activity involving the four brands of seed

covered by the MBSD, namely, DEKALB, Asgrow, Nexgen, and Stoneville.1 Omega further

argues the MBSD is inapplicable because the patents alleged to have been infringed were not in

existence at the time it was entered into on August 12, 2005; the ‘696 patent issued on September

27, 2005 and the ‘249 patent issued on June 20, 2006. (Id. at 4) Thus, venue is inappropriate in

the Eastern District of Missouri. (Id.)

         Monsanto responds that under the MBSD, Omega had a contractual obligation, separate

and apart from its obligations with respect to the sale of Monsanto branded seed, to report

suspected seed piracy and cooperate and assist Monsanto in enforcing its contractual and patent

rights, irrespective of any brand or variety of seed. (Doc. No. 11 at 4) For this reason, Monsanto


1
 Omega believes Monsanto’s allegations relate to Delta Pine brand cotton seed, as well as other seed sold
under brands not owned by Monsanto. (Doc. No. 9 at 2-3)


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maintains that Omega’s argument about the date of the patents at issue in relation to the date of

the MBSD is also unavailing. (Id. at 4 n. 2) Monsanto takes the position that the MBSD applies,

venue in this District is proper under the MBSD’s forum selection clause and Omega’s motion to

transfer should be denied. (Id. at 5 n.6)

          In reply, Omega argues that Monsanto is trying to expand the scope of the reporting

requirement in the MBSD to cover later-issued patents that apply to other types of seed. The

reporting requirement states that Omega “shall report to Monsanto all planting of suspected

pirated seed containing Monsanto Technologies or any use of such seed by a grower.” (MBSD at

¶ 8) Relying on paragraph 7 of the MBSD2, Omega contends that “Monsanto Technologies” only

covers the patented technologies found in DEKALB, Asgrow, Nexgen, and Stoneville seed as of

the effective date of the MBSD, i.e., August 12, 2005, and should not be read to cover patents

and/or technologies that did not exist as of that time. Because the two patents involved in this

action, ‘696 and ‘249, were issued on September 27, 2005 and June 20, 2006, respectively, they

are not covered “Monsanto Technologies,” and the reporting requirement of paragraph 8 of the

MBSD does not apply to them. (Doc. No. 12 at 3-4)

          It is a well-established rule of contract interpretation that a contract must be interpreted as

a whole and that the intention of the parties is to be ascertained from the entire instrument.

Individual words and phrases must be considered in connection with the rest of the contract. See

2
    Paragraph 7 provides in pertinent part as follows:

Monsanto grants a limited, non-exclusive, non-royalty bearing license to Dealer [Omega] to transfer
and/or sell DEKALB, Asgrow, Nexgen and/or Stoneville seed containing one or more of Monsanto’s
patented technologies (“Monsanto Technologies”) to other Dekalb, Asgrow, Nexgen and/or Stoneville
authorized dealers, other entities authorized by this Agreement, and to growers that have obtained a
license to grow seed containing Monsanto Technologies by having signed a Monsanto
Technology/Stewardship Agreement that has been accepted by Monsanto and is in good standing as listed
at www.farmsource.com.

(MBSD at ¶ 7) (Emphasis added).


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Monarch Fire Protection District of St. Louis County, Missouri v. Freedom Consulting &

Auditing Services, Inc., 644 F.3d 633, 638 (8th Cir. 2011); Adbar Co., L.C. v. PCAA Missouri,

LLC, 2008 WL 68858 at *4 (E.D.Mo. Jan. 4, 2008). See also, Shaw Hofstra & Associates v.

Ladco Development, Inc., 673 F.3d 819, 826 (8th Cir. 2012).

       After careful review of the MBSD, and following the well-established principles of

contract interpretation, the Court finds that Omega’s contractual obligation to report seed piracy

or suspected seed piracy to Monsanto, and to cooperate and assist Monsanto in enforcing its

contract and patent rights, was intended to apply separate and apart from its obligations with

respect to the sale of Monsanto branded seed. This is clear for several reasons.

       First, as noted, the MBSD established Omega as a designated dealer in DEKALB,

Asgrow, Nexgen and/or Stoneville brand seed. (MBSD at ¶ 2) By its clear terms, the MBSD

contemplated that additional brands of seed would be covered: “Monsanto will designate

[Omega] as an authorized dealer in DEKALB brand, Asgrow brand, Nexgen brand, and/or

Stoneville brand seed and by species and/or by specialty seed Monsanto may change the

Dealer’s designation.” (MBSD at ¶ 2) (Emphasis added).

       Next, the word “seed” is capitalized throughout the Agreement when referring to the

designated seed brands and Omega’s related obligations. See e.g., MBSD at ¶ 3 (payment terms)

(“Dealer will pay for all Seed according to the payment terms specified”); MBSD at ¶ 5 (security

interest) (“Dealer grants Monsanto a security interest in the Seed pursuant to this Agreement”);

MBSD at ¶ 6 (risk of loss) (“Risk of loss of Seed will pass from Monsanto to Dealer upon

transfer of Seed by Monsanto … to a carrier for delivery to Dealer or upon delivery to Dealer,

whichever occurs first”); MBSD at ¶ 8 (transaction reporting guidelines) (“Dealer will maintain

complete and accurate records of all transactions related to Seed”); and MBSD at ¶ 14 (remedies)




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(“The exclusive remedy of Dealer and the limit of the liability of Monsanto for any and all losses

… resulting from the use or handling of the Seed … is the replacement of the quantity of Seed at

issue”).

       In contrast, the word “seed” is not capitalized when used in connection with obligations

that are not seed specific, such as Monsanto’s warranties (MBSD at ¶ 13) (“Monsanto warrants

that its seed conform to the label description on the bag and bag tags within reasonable

tolerances”) and Omega’s compliance with all local, state and federal laws and Monsanto rules

and regulations for storing seed. (MBSD at ¶ 17)

       Taken together, these provisions of the Agreement confirm that Omega’s obligation to

“report to Monsanto all planting of suspected pirated seed containing Monsanto Technologies or

any use of such seed by a grower” was not intended to be tied to any particular brand of seed.

(MBSD at ¶ 8) Likewise, the MBSD required Omega to cooperate and assist Monsanto in

enforcing its contract and patent rights without regard to any particular brand of seed: “Dealer

will cooperate in Monsanto’s enforcement efforts of Monsanto’s contract rights, patent rights,

and Plant Variety Protection rights, including without limitation, providing copies of relevant

documents . . . .” (MBSD at ¶ 11) For this reason, the date of the patents at issue in relation to the

date of the MBSD has no bearing.

       To state a claim for breach of contract, a plaintiff need only plead facts sufficient to

demonstrate the existence of a valid contract and its breach. St. Louis Housing Authority ex rel.

Jamison Elec., LLC v. Hankins Const. Co., 2013 WL 3802523, at *1 (E.D.Mo. July 22, 2013)

(citing Amburgy v. Express Scripts, Inc., 671 F.Supp.2d 1046, 1055–56 (E.D.Mo.2009)). The

Court finds Monsanto has asserted facts that plausibly state a claim for breach of contract against

Omega, specifically: (1) the existence of a valid and enforceable contract (Compl. at ¶ 40); (2)




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the contractual obligations at issue, i.e., notifying Monsanto of suspected seed piracy and

cooperating with Monsanto in enforcing its contract and patent rights (id. at ¶¶ 41, 44); (3)

Omega’s breach of those obligations (id. at ¶¶ 42, 46); and (4) resulting damages to Monsanto

(id. at ¶ 48). (Doc. No. 11 at 5) The issue for the Court’s determination on a motion to dismiss is

whether Monsanto’s complaint gives Omega fair notice of the breach of contract claim and the

grounds on which it is based. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(citations omitted). The Court finds that it does. Thus, Omega’s motion to dismiss will be denied

as to Count I.

           Patent inducement

       35 U.S.C. § 271(b) provides that, “[w]hoever actively induces infringement of a patent

shall be liable as an infringer.” To survive a motion to dismiss, a complaint alleging induced

infringement must contain facts plausibly showing that the defendant “specifically intended

[another] to infringe the [plaintiff's] patent and knew that [the other's] acts constituted

infringement.” TSI (USA) Inc. v. Creative Compounds, LLC, 2014 WL 5419579, at *3 (E.D.Mo.

Oct. 22, 2014) (quoting In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681

F.3d 1323, 1339 (Fed.Cir.2012)); Manville v. Paramount Systems, Inc., 917 F.2d 544, 553

(Fed.Cir. 1993). See also Global–Tech Appliances, Inc. v. SEB S.A., 131 S.Ct. 2060, 2068

(2011) (holding that § 271(b) requires both “knowledge of the existence of the patent that is

infringed” and “knowledge that the induced acts constitute patent infringement.”) Id. at 2068. In

addition, “inducement liability may arise ‘if, but only if, [there is] direct infringement.’ ”

Limelight Networks, Inc. v. Akamai Technologies, Inc., 134 S.Ct. 2111, 2117 (2014) (quoting

Aro Mfg. Co. v. Convertible Top Replacement Co., 365 U.S. 336, 341 (1961)).




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        Omega argues Monsanto’s complaint fails to plead sufficient facts establishing intent.

First, Monsanto’s claims of patent infringement are based on the sale of seeds identified as

Roundup Ready® Flex and Bollgard II® cotton, yet Monsanto fails to allege that Omega could

know the seed origination of each type of cotton brought to it for processing. (Doc. No. 9 at 10)

Omega states that cotton brought to it by a farmer is not identified by seed type or marked with

patent numbers. In fact, the only place that Monsanto alleges such seeds would be marked is

when the seeds are in the bags in which they are originally sold (see Compl. at ¶ 20), which are

long gone by the time the cotton is brought to the gin. (Doc. No. 9 at 11) Second, the patents at

issue were granted after the parties entered into the MBSD and Monsanto does not allege the

MBSD was later modified to put Omega on notice of the patents. (Id.) Finally, Monsanto does

not allege that Omega could identify cotton received at the gin as containing technology covered

by the patents at issue. (Id. at 11-12)

        Monsanto responds that it has plausibly alleged that Omega had knowledge of the patents

at issue, intended its customers infringe the patents, and knew that its customers’ acts constituted

infringement. (Doc. No. 11 at 7-9) In particular, Monsanto alleged that Omega entered into a

“Monsanto Brand Seed Dealer Agreement” with Monsanto authorizing it to sell Monsanto seed

brands and, as a result, was fully aware of Monsanto’s patents and the prohibition against

collecting second generation seed. (Id. at ¶¶ 13, 19) In addition, Monsanto alleged that bags

containing Roundup Ready® Flex, Bollgard II®, and Roundup Ready®, Flex with Bollgard II®

seed, which Omega sells, are marked with the patents asserted in this action. (Id. at ¶ 20)

Monsanto also alleged that “[f]or years, farmers identified for Omega specific modules

containing specific cotton varieties with Monsanto Technologies …” (Compl. at ¶ 32) Given

Omega’s background in the cotton industry, its past relationship with Monsanto, and the fact that




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it sells seed marked with the asserted patents, Monsanto maintains it is “more than plausible”

that Omega knew of the asserted patents. (Doc. No. 11 at 7)

       In addition, Monsanto alleged that Omega “advis[ed] its farmer customers how to save

patented cotton seed and profit from this illegal activity …” (Compl. at ¶ 13), and assisted

farmers “in “captur[ing] specific seed from ginned cotton to maintain varietal and trait purity” by

“segregate[ing] the seed ginned from specific modules from a farmer’s specific cotton fields.”

(Id. at ¶ 28) Monsanto alleges that to accomplish this, Omega “intentionally altered its internal

systems to facilitate such ‘catching’ of cotton seed being ginned so farmers could collect it and

save it for future plantings.” (Id. at ¶ 13) Further, because this captured cotton seed, referred to as

“fuzzy seed,” “cannot be used with modern planting equipment” without first being “delinted,”

Monsanto alleges that Omega assisted farmers to infringe Monsanto’s patents by “lending

delinting equipment to some farmers, including a “cement mixer,” and advising them on which

types of “acids” to use in the “delinting” process. (Id. at ¶¶ 14, 15, 29, 30, 34, 36)

       In reply, Omega takes issue with Monsanto’s contention that it could know the origin of

all cotton brought to its gin for processing based on the allegations presented, particularly based

on identification numbers on the modules of harvested cotton provided by its farmer customers.

(Doc. No. 12 at 6-7) Omega’s arguments go to the weight of the evidence rather than the

sufficiency of Monsanto’s allegations. At the motion to dismiss stage, the Court does not

undertake a full evaluation of “probability,” but simply asks for “enough fact[s] to raise a

reasonable expectation that discovery will reveal” that a defendant has acted unlawfully. See

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       Fact patterns found to show specific intent to induce infringement include control by the

accused over the infringing activities, provision of materials by the accused to facilitate the




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infringing activities, provision of instructions directing use of the material in an infringing

manner, and design of the infringing product or process by the accused. See e.g., Metabolite

Laboratories, Inc. v. Laboratory Corp. of America Holdings, 370 F.3d 1354 (Fed. Cir. 2004);

Minnesota Min. & Mfg. Co. v. Chemque, Inc., 303 F.3d 1294, 1305 (Fed. Cir. 2002); Palmetto

Pharmaceuticals LLC v. AstraZeneca Pharmaceuticals LP, 2012 WL 484907, at *8 (D.S.C. Jan.

4, 2012). See also DSU Medical Corp. v. JMS Co., Ltd., 471 F.3d 1293, 1305 (Fed.Cir. 2006)

(“Evidence of ‘active steps … taken to encourage direct infringement,’ such as advertising an

infringing use or instructing how to engage in an infringing use, show an affirmative intent that

the product be used to infringe … ”) (quoting Metro-Goldwyn-Mayer Studios Inc. v. Grokster,

Ltd., 545 U.SW. 913, 936 (2005)); Potter Voice Techs., LLC v. Apple Inc., 24 F.Supp.3d 882,

888 (N.D. Cal. 2014) (plaintiff stated a claim for induced infringement by identifying both the

direct infringer (customers using the Apple iPhone 4S and other similar products) and the way in

which defendant encouraged others to infringe (by instructing and encouraging them on its

public website to use infringing features).

       Accepting Monsanto’s factual allegations as true and granting all reasonable inferences

from the pleadings in its favor, the Court finds Monsanto has sufficiently alleged that Omega

possessed specific intent to encourage its customers to infringe the asserted patents and knew

that the customer’s acts constituted infringement. Accordingly, Omega’s motion to dismiss will,

therefore, be denied as to Counts II and IV.

       B. Motion to transfer

       In determining whether a cause of action should be transferred pursuant to 28 U.S.C. §

1404(a), the Court must consider a variety of factors, such as the convenience of the parties and

witnesses, availability of judicial process to compel the attendance of unwilling witnesses, the




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governing law, the relative ease of access to the sources of proof, and the interests of justice.

Terra Intern., Inc. v. Mississippi Chemical Corp., 119 F.3d 688, 691 (8th Cir. 1997). The most

significant factor in a court's decision whether to transfer a case is, however, a forum selection

clause. See Stewart Organization, Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988). Pursuant to the

MBSD, the parties consented to sole and exclusive jurisdiction and venue in this Court “for all

claims and disputes arising out of or connected in any way with [the] Agreement or the seed

referenced [therein].”3 (MBSD at ¶ 20)

          Forum selection clauses are presumptively valid and enforceable “unless they are unjust

or unreasonable or invalid for reasons such as fraud or overreaching.” M.B. Restaurants, Inc. v.

CKE Restaurants, Inc., 183 F.3d 750, 752 (8th Cir. 1999) (citing The Bremen v. Zapata-Off-

Shore Co., 407 U.S. 1, 15 (1971)). See also Servewell Plumbing, LLC v. Federal Ins. Co., 439

F.3d 786, 789 (8th Cir. 2006). Omega does not suggest that the forum selection clause in the

MBSD was the product of fraud or overreaching; instead, it contends the MBSD is inapplicable

in this case and that venue is appropriate in the Middle District of Georgia. (Doc. No. 9 at 5-9)

          As discussed above, the MBSD does apply. Therefore, venue in this District is proper

under the MBSD’s forum selection clause. Because the parties agreed to a valid forum selection

clause, the Court’s analysis of Omega’s motion to transfer is altered. See Atlantic Marine Const.

Co., Inc. v. U.S. Dist. Court for Western Dist. Of Texas, 134 S.Ct. 568, 581 (2013). The Court

may not consider the parties’ private interests, such as whether the forum is convenient for the

parties or their witnesses. Id. The Court may, however, assess public interest considerations in

determining whether transfer is appropriate under either § 1404(a) or forum non conveniens. Id.

at 582.


3
 A virtually identical forum selection clause has been enforced by this Court. See Monsanto Co. v.
Dawson, 2000 WL 33952259, at *3 (E.D.Mo. Aug. 18, 2000).


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       Omega argues the Middle District of Georgia has “localized interest” with regard to both

parties in resolving this dispute since Omega is a Georgia corporation and Monsanto has two

facilities there. (Doc. No. 9 at 8) Further, Monsanto charges different amounts for the technology

at issue in different states, making this case particularly suited to be tried in the venue where the

seed at issue is sold and planted. (Id.) The Court has considered Omega’s arguments but finds

they do not outweigh the public interest in enforcing the parties’ bargain as written. See Tsai v.

Karlik, 2014 WL 3687201, at *4 (E.D.Mo. July 24, 2014). Omega’s motion to transfer the case

will be denied.

       III.       Conclusion

       For all of these reasons, Monsanto’s complaint contains sufficient facts to permit the

Court to draw the reasonable inference that Omega is liable for breach of contract and/or induced

infringement. See Iqbal, 556 U.S. at 678 (“A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.”). In addition, Omega has not met its burden of proof that

public interest considerations warrant transfer of this action from this District under § 1404(a).

       Accordingly,

       IT IS HEREBY ORDERED that Defendant Omega Farm Supply, Inc.’s Motion to

Dismiss Counts I, II and IV of Plaintiff Monsanto Company’s Complaint and Motion to Transfer

Remaining Counts Due to Improper Venue [9] is DENIED.

       IT IS FURTHER ORDERED that a Rule 16 conference will be set by separate order.

Dated this 12th day of February, 2015.


                                                  _________________________________
                                                  JOHN A. ROSS
                                                  UNITED STATES DISTRICT JUDGE



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